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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTM CT OF FLORIDA
                         CA SE N O .15-14046-CR -M A RT1N EZ/LY NCH

  UNITED STATES OF AM ERICA

          Plaintiff,
  VS.

  TIM OTHY DALE REID,

          Defendant.
                                     /

          ORDER ADOPTING M AGISTRATE'S REPORT AND RECOM M ENDATION

          TH IS CAUSE camebefore the Courtupon the OrderofReferencefrom theD istrict
  Courtto conductaChange ofPlea beforea M agistrate Judge.
          TH E M ATTER wasreferred to ChiefM agistrateJudgeFrank J.Lynch Jr,on October

  21,2015.A ReportandRecommendationwasfiledon October26,2015,(ECFNo.2971,
  recom mending thatthe Defendant'spleaofguilty beaccepted.Thepartieswere afforded the
  opportunitytofileobjectionstotheReportandRecommendation,howevernonewerefiled.The
  Courthasreviewedtheentirefileandrecordandnotesthatnoobjectionshavebeenfiled.After
  carefulconsideration,the Courtaffirm sand adoptstheReportandRecom mendation.
  Accordingly,itishereby:

          ORDERED AND ADJUDGED thattheReportandRecommendation (ECF No.2971,of
  ChiefUnited StatesM agistrate JudgeFrank J.Lynch Jr,ishereby AFFIRM ED and ADOPTED
  in itsentirety.
         TheDefendantisadjudgtd guiltyto CountOneoftheIndictment,whichchargesthe
  Defendantwithconspiracytodistributeandpossesswith intentto distributefifty(50)gramsor
  moreofmethamphetamine,inviolationofTitle21,UnitedStatesCode,Sections841(a)(1),
  841(b)(1)(A)and 846.
          DONEAND ORDEREDinChambersatMiami,Florida,thislR dayofNovember,
  2015.
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                                             J SE . AR    EZ
                                             UN IT STA TES D ISTRIC JU D GE
  Copied:
  ChiefM agistrate Judge Lynch,Jr.
  A 11CounselOfRecord
